             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION
                Civil Action No. 3:22-cv-630-MOC-DSC

SARA BETH WILLIAMS, BRUCE             )
KANE, JASON YEPKO, GUN                )
OWNERS OF AMERICA, INC.,              )
GUN OWNERS FOUNDATION,                )
GRASS ROOTS NORTH                     )
CAROLINA, and RIGHTS WATCH            )
INTERNATIONAL,                        )
                                      )
                  Plaintiffs,         )
                                      )
v.                                    )
                                      )
SHERIFF GARRY MCFADDEN, in            )
his official capacity as Sheriff of   )
Mecklenburg County, and the           )
MECKLENBURG COUNTY                    )
SHERIFF’S OFFICE                      )
                                      )
                  Defendants.         )


EXHIBIT IB       SP FORM 914
                                                                              RELEASE OF PHYSICAL AND MENTAL
 STATE OF NORTH CAROLINA
                                                                               HEALTH, SUBSTANCE ABUSE AND
                                                County                        CONFIDENTIAL COURT RECORDS FOR
                                                                                CONCEALED HANDGUN PERMIT
                                                                                                                                                G.S. 14-415.13(a)(5)
Name And Address Of Applicant                                               Date Of Birth                                 Social Security No.



                                                                            State Drivers License No. (State Identification No. if no Drivers License)     State




I hereby authorize and require any and all doctors, hospitals or other providers who have ever provided physical or mental health or
substance abuse treatment or care to me, including without limitation the providers named below, to release to the sheriff of the above
named county any and all records concerning my physical capacity, mental health, mental capacity or substance abuse that the sheriff
may reasonably request in connection with my application for a concealed handgun permit. The purpose of the release is to enable the
sheriff to determine my qualification and competence to handle a handgun. I understand that alcohol and substance abuse information is
protected by federal regulations and that other confidential records such as psychiatric information may be protected by North Carolina
statute. Accordingly, I specifically authorize the release of any and all alcohol, substance abuse and psychiatric information that may be
documented in my records.

I understand that further disclosure or redisclosure by the sheriff of any information disclosed to the sheriff pursuant to this Release is
prohibited without my further written consent unless otherwise provided for by state or federal law. I understand that I may revoke this
authorization at any time except to the extent that action has already been taken in reliance on this Release. Even without my express
revocation, this Release will expire upon the satisfaction of the request or one year from the date below, whichever occurs first.

                  Name Of Provider                                                             Address Of Provider




 I also request and authorize any and all clerks of superior court of North Carolina to inform the sheriff of this County whether or not the
 clerk's records contain the record of any involuntary commitment proceeding under Article 5 of Chapter 122C of the General Statutes in
 which I have been named as a respondent and, if so, to reveal to the sheriff any confidential information in the court files or records of
 each such proceeding that the sheriff may reasonably require in order to determine whether or not to issue a concealed handgun permit
 to me. This Release may be treated as a motion in the cause within the meaning of G.S. 122C-54(d) and a clerk may reveal information
 to the sheriff pursuant to any specific or standing order entered in response to or anticipation of this motion.

 I authorize the sheriff to photocopy this Release after I sign it, and I authorize any provider to whom a photocopy of this Release is
 presented to rely on the photocopy as being as effective as the original.

 NOTE: Pursuant to G.S. 14-415.15(a), no person, company, mental health provider, or governmental entity may charge additional fees to
       the applicant for a concealed handgun permit for a background check under that subsection.
                                                                            Date
  SWORN/AFFIRMED AND SUBSCRIBED TO BEFORE ME
Date                   Signature Of Person Authorized To Administer Oaths   Signature Of Applicant


Title


Date Commission Expires
                                                                                                                     SEAL




  AOC-SP-914, Rev. 2/19
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